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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 United States of America, et al.,

                                Plaintiffs,        Case No. 1:20-cv-03010-APM

 v.                                                HON. AMIT P. MEHTA

 Google LLC,
                                Defendant.




 State of Colorado, et al.,

                                Plaintiffs,        Case No. 1:20-cv-03715-APM

 v.                                                HON. AMIT P. MEHTA

 Google LLC,
                                Defendant.



                        GOOGLE’S MOTION TO PRECLUDE
                  REBUTTAL TESTIMONY OF MICHAEL A. M. DAVIES

       The DOJ Plaintiffs retained Michael A. M. Davies, a purported smartphone industry expert,

to offer opinions about why OEMs and carriers enter into certain agreements with Google, and

how those agreements purportedly impact OEMs’ and carriers’ product decisions. As Google

explained in its Daubert motion directed at Mr. Davies, this testimony should be excluded in full.

Since then, any supposed need for Mr. Davies’ testimony has evaporated: The Court’s summary

judgment ruling dismissed the DOJ Plaintiffs’ claims concerning key portions of Mr. Davies’

testimony; the Court granted a motion in limine that barred yet other aspects; and the DOJ Plaintiffs

decided not to call Mr. Davies in their case-in-chief. But the DOJ Plaintiffs now pivot to seeking

to call Mr. Davies in “rebuttal,” claiming he will “respond[] to fact witnesses on OEM and carrier
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options”—a subject that is, as described further below, wholly inappropriate for expert testimony,

rebuttal or otherwise. Ex. 1 at 2-3, Emails from Matthew C. Hammond, Antitrust Div., DOJ (Sept.

17, 2023) (emphasis added).

          The Court should not permit the DOJ Plaintiffs to call Mr. Davies in their rebuttal case for

several reasons. First, the stated subject of Mr. Davies’ proposed “rebuttal” testimony—OEM and

carrier options—is in actuality the same as the affirmative opinions he disclosed in his opening report

and based on substantially the same evidence. The DOJ Plaintiffs—who called many of the fact

witnesses during their case-in-chief that Mr. Davies now apparently seeks to rebut—should not be

permitted to re-label affirmative opinions as “rebuttal” simply so they can have the last word. See

Settling Devotional Claimants v. Copyright Royalty Bd., 797 F.3d 1106, 1118 (D.C. Cir. 2015)

(rebuttal testimony is improper if it “could have been included in the same witness’ direct

examination”) (cleaned up). Second, even if fact testimony related to OEM and carrier options is

introduced during Google’s case-in-chief, Mr. Davies is not the witness to respond to it. To the

contrary, it is well-established that expert rebuttal witnesses may only respond to or rebut other

experts—not fact witnesses. Third, even were Mr. Davies’ opinions to survive Daubert, any case

for their relevance has collapsed given Plaintiffs’ abandonment of the claims to which his opinions

relate.

          At bottom, Mr. Davies’ expected testimony “is not true rebuttal; it is sandbagging.” See Oracle

Am., Inc. v. Google Inc., 2011 WL 4802535, at *4 (N.D. Cal. Oct. 11, 2011). Plaintiffs should not be

permitted to circumvent the orderly presentation of evidence and prolong an already lengthy trial.

Google respectfully requests that the Court preclude any rebuttal testimony of Mr. Davies.




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                                          ARGUMENT

       I.      Mr. Davies Is Not a Proper Rebuttal Witness

       As a threshold matter, Mr. Davies is not a proper rebuttal witness because the asserted subject

of his anticipated testimony—“OEM and carrier options”—was the precise topic of his affirmative

opinions in this case. As discussed in Google’s Daubert motion (ECF No. 417), Mr. Davies’ opening

report addressed OEM and carrier options and the purported impact of Google’s agreements on them;

he cannot lay-in-wait to offer these same affirmative opinions in rebuttal. This topic was, moreover,

clearly appropriate for Plaintiffs’ case-in-chief, which included extensive testimony from fact

witnesses on these issues. For example, Brian Higgins of Verizon testified live on OEM and carrier

options. See, e.g., Trial Tr. (Higgins) 1101:17-24; 1103:24-1104:4 (10/16/2023). The DOJ Plaintiffs

also called Google’s VP of Android Platform Partnerships, Jim Kolotouros, who testified extensively

about OEM and carrier options. See Trial Tr. (Kolotouros) 947:23-953:16 (10/15/2023) (describing

range of options available to OEMs consistent with the MADA). Plaintiffs also submitted deposition

designations in lieu of live testimony for the leading Android OEM, Samsung—the very same

testimony Mr. Davies relied on and discussed in the report disclosing his affirmative opinions. See,

e.g., Davies Opening Rep., ECF No. 417-1 at 46 n.181 (citing deposition testimony of Timothy

Baxter (Samsung)); 40 nn.154-56 (citing, inter alia, carrier deposition testimony).1

       Simply put, if Plaintiffs wanted to offer Mr. Davies’ affirmative opinions on this topic at

trial, they could and should have done so before they rested. See Upshur v. Shepherd, 538 F. Supp.

1176, 1179-80 (E.D. Pa. 1982), aff’d, 707 F.2d 1396 (3d Cir. 1983) (expert rebuttal testimony was



1
  Both parties several months ago designated substantial additional deposition testimony from
other OEMs and carriers on device optionality, all of which was available to and relied upon by
Mr. Davies in connection with his opening report. See, e.g., Dep. of Eric V. Christensen
(Motorola) (Dec. 21, 2021); Dep. of Timothy Baxter (Samsung) (April 12, 2022); Dep. of Jeffrey
Giard (T-Mobile) (Jan. 10, 2022); and Dep. of Jeffrey Ezell (AT&T) (Jan. 26, 2022).

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improper to respond to fact witness testimony that was “substantially consistent with the testimony

given by [those fact witnesses] in their depositions” and where “no new evidence or legal theories

requiring rebuttal” were introduced at trial); see also Braun v. Lorillard Inc., 84 F.3d 230, 237 (7th

Cir. 1996) (a rebuttal witness cannot “reverse the order of proof, in effect requiring [] defendants to

put in their evidence before the plaintiff put in his.”) (Posner, J.). “When a party knows that a

contested matter is in the case, yet fails to address it in a timely fashion, he scarcely can be heard

to complain that the trial court refused to give him a second nibble at the cherry.” Faigin v. Kelly,

184 F.3d 67, 85 (1st Cir. 1999).

       II.     Mr. Davies Is Not Permitted to Rebut Fact Witness Testimony

       Mr. Davies’ anticipated testimony should be barred for a second, independent reason. If

allowed, expert rebuttal testimony serves the specific purpose of refuting the testimony of other

expert witnesses. Mr. Davies’ anticipated rebuttal testimony, however, is intended only to

“respond[] to fact witnesses,” rather than the opinions of any expert offered by Google. Ex. 1 at

2-3. “As opposed to a case-in-chief expert witness, a rebuttal expert witness is an expert witness

necessary to refute the disclosed opinions of an opposing party’s expert witness.” Probatter

Sports, LLC v. Joyner Techs., Inc., 2007 WL 2752080, at *3 (N.D. Iowa Sept. 18, 2007) (emphasis

added) (cleaned up). To that end, a rebuttal expert “is not entitled to respond to fact witnesses

through expert testimony.” DuFresne v. Microsoft Corp., 2006 WL 8424349, at *10-12 (D. Mass.

Apr. 28, 2006) (emphasis added) (recommending motion to strike be granted where rebuttal expert

was positioned only “to opine upon new fact testimony at trial”), report and recommendation

adopted, 2006 WL 6237918 (D. Mass. June 16, 2006). Indeed, rebuttal testimony from an expert

has “no applicability to lay evidence,” and is not the appropriate vehicle through which to respond




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to fact witness testimony. Gerawan Farming, Inc. v. Prima Bella Produce, Inc., 2011 WL

13242963, at *1-2 (E.D. Cal. May 17, 2011).

        This is particularly true where an expert previously disclosed opinions based on fact

witness testimony, as Mr. Davies did here. Allowing Mr. Davies to wait until “rebuttal” to offer

opinions based in large part on that same fact witness testimony elicited in Plaintiffs’ case-in-chief

would be unduly prejudicial. See Iacangelo v. Georgetown Univ., 272 F.R.D. 233, 234 (D.D.C.

2011) (explaining a primary purpose of the federal rules “is to prevent unfair surprise at trial,”

including “preventing experts from ‘lying in wait’ to express new opinions at the last minute”). In

Gerawan Farming, for example, the court considered whether a party’s expert rebuttal reports

should be excluded where that testimony was, in part, geared towards rebutting “lay testimony.”

2011 WL 13242963, at *1-2. The court concluded that this testimony was improper, observing

that an expert’s rebuttal testimony is limited “to contradicting expert evidence offered by another

party.” Id. at *2; see Blake v. Securitas Sec. Servs., 292 F.R.D. 15, 18 (D.D.C. 2013) (striking

expert opinion that “does not rebut any arguments presented by Defendant’s experts”). As the

court explained, “in the absence of expert reports . . . to ‘contradict or rebut,’ [the party’s] proffered

expert reports cannot constitute ‘rebuttal’ evidence.” Gerawan Farming, 2011 WL 13242963, at

*2. So too here. Because the DOJ Plaintiffs have made clear that Mr. Davies’ anticipated rebuttal

testimony will be directed toward responding to fact witnesses, he should be precluded from

testifying.

        III.    Mr. Davies’ Testimony Should Be Excluded Under Daubert and Is Irrelevant

        In any event, Mr. Davies’ testimony should be excluded in full under Daubert’s

gatekeeping requirements and because it is no longer relevant. As detailed in Google’s Daubert

motion, Mr. Davies refused to describe the experience underlying his purported expertise,



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substituted his own views for those of available fact witnesses, and repeatedly admitted that

he offers no opinions on the impact of Google’s conduct in relation to search competition. ECF

No. 417; see also Google’s Reply in Support of Its Mot. to Exclude the Opinion of Plaintiffs’

Expert Michael A. M. Davies, ECF No. 515 (“Google’s Daubert Reply”). As one example,

while Mr. Davies’ reports opined on what “wireless carriers believe” about Google services on

Android, he acknowledged in his deposition that “the right people to ask” about that issue “is the

carriers”—a disqualifying deficiency that DOJ Plaintiffs seek now to magnify on rebuttal.

See Google’s Daubert Reply at 3, 10-11.

       The irrelevance of Mr. Davies’ opinions has only become more pronounced as this case

has proceeded. For example, much of Mr. Davies’ testimony concerns his views about the

purported impact of the Android AFAs’ and ACCs’ compatibility requirements. See, e.g., Davies

Opening Rep., ECF No. 417-1 at 43 (section titled “Compatibility requirements hamper

smartphone vendors’ efforts to differentiate their products”); Pls.’ Opp. to Def.’s Mot. in Lim. to

Preclude Evidence, Testimony, or Argument Concerning Abandoned Conduct Allegations, ECF

No. 649 at 3 (highlighting Mr. Davies’ opinions on the impact of the ACCs’ compatibility

requirements). But the Court granted Google’s summary judgment motion on this issue, holding

that “Plaintiffs offer no evidence showing that ACCs and AFAs have an anticompetitive effect in

the relevant markets.” Summ. J. Memorandum Op., ECF No. 626 at 58-59. And the DOJ Plaintiffs

have since acknowledged this topic lacks any relevance to their remaining Android

theories, recently removing about 100 documents from their exhibit list, including all AFAs and

ACCs. Trial Tr. 5667:19-25 (10/12/2023). Further, the Court ruled that evidence about Google’s

management of the Android Open-Source Project (“AOSP”)—a topic Mr. Davies’ reports covered

at length—was inadmissible, following the Court’s grant of summary judgment on the topic. Ord.



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Ruling on Pending Motions in Lim., ECF No. 683 at 1. It is now all the more clear that Mr. Davies’

opinions lack any connection to the issues remaining for trial.

        Because Mr. Davies’ opinions fall well short of the reliability and relevance requirements

of Federal Rule of Evidence 702, they fail Daubert’s requirements and should be excluded.

                                         CONCLUSION

        For each of these independently sufficient reasons, Mr. Davies should be precluded from

testifying in rebuttal.




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Dated: November 2, 2023            Respectfully submitted,

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